Case 2:24-cr-00091-ODW    Document 56   Filed 03/13/24   Page 1 of 2 Page ID #:1004



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                   United States District Court
  10
               For The Central District of California
  11
       UNITED STATES OF AMERICA           )       2:24-CR-00091-ODW
  12                                      )
                 Plaintiff,               )       ORDER DENYING EMERGENCY
  13                                      )       REQUEST FOR 30 DAY MEDICAL
                         v.               )       FURLOUGH[52]
  14
       ALEXANDER SMIRNOV            )
  15                                )
               Defendant.           )
  16 ______________________________ )
  17        For the second time, Defendant has sought emergency relief to be
  18   released from custody, this time to obtain glaucoma surgery and
  19   subsequent appointments for all necessary post-operative care. In the
  20   alternative, he requests to be transported by the United States
  21   Marshal’s Service to San Francisco for the procedure as well as for all
  22   necessary post-op care and treatment.
  23        Both Defense counsel and counsel for the government have made
  24   necessary contact with all those who would be charged with the
  25   responsibility of effectuating either option.
  26        As might be expected, securing necessary medical care for those
  27   persons in the physical or constructive custody of the U.S. Marshal’s
  28   Service is not novel. There are procedures in place to assure the medical
Case 2:24-cr-00091-ODW   Document 56   Filed 03/13/24   Page 2 of 2 Page ID #:1005



   1   needs of inmates are met. The first step in the established protocol, of
   2   which defendant has been advised, is a request made to the detaining
   3   facility, in this case the Santa Ana City Jail. The Court has also been
   4   provided with correspondence from the Santa Ana Police Department
   5   detailing the process an inmate follows in requesting medical attention.
   6   (See Exhibit A to the govt’s Opposition to Defendant’s ex parte
   7   application for emergency relief.) Defendant has apparently initiated
   8   that process and his request has been evaluated. Assuming the
   9   necessary procedure cannot be performed at his current facility, upon
  10   approval by the USMS, he will be transported to an appropriate medical
  11   facility under contract with the USMS, for the necessary medical
  12   procedure.
  13          The Court finds the established protocol is reasonable, considering
  14   the limited resources of the USMS and the fact that he is presently
  15   housed in a large metropolitan area equipped with first-rate medical
  16   resources necessary to address defendant’s needs while not
  17   compromising the security interests of the government. For these
  18   reasons, Defendant’s request is DENIED.
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  21   DATED: March 13, 2024                 ___________________________
  22                                          OTIS D. WRIGHT, II DISTRICT JUDGE
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